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                  UNITED STATES DISTRICT COURT
                   DISTRICT OF MASSACHUSETTS


                   CIVIL ACTION NO. 24-10339-RGS

                        GARY MICHEL BLOOM,
                                     Plaintiff

                                    v.

                   WILLIAM JAMES CAMPBELL, III,
                                   Defendant


           ORDER ON REPORTS AND RECOMMENDATIONS
                  OF THE MAGISTRATE JUDGE

                               July 1, 2025

STEARNS, D.J.

     This is a somewhat convoluted case involving disputes over the

authorship of various literary projects that festered into an acrimonious

relationship between the parties. In essence, plaintiff Gary Bloom alleges

that defendant William Campbell mispresented himself as the true author of

seven screenplays and two video projects to induce Bloom into providing

legal representation and editorial collaboration in perfecting the draft

projects into marketable vehicles. The festering rancor and recriminations

that ensued from the breakdown between the erstwhile partners led to

counter-lawsuits, Bloom suing Campbell for fraudulent inducement and
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Campbell counterclaiming with allegations of tortious interference,

defamation, and violation of the Massachusetts Rules of Professional

Conduct, or in the alternative, to strike Bloom’s claims of fraud.          After

hearing the parties and reviewing the record, Magistrate Judge Boal issued

two Reports and a series of Recommendations which this court will adopt for

the reasons she carefully explains.    Consequently, the court will allow

Bloom’s motion to dismiss Campbell’s counterclaims and deny Campbell’s

motion to strike, or in the alternative, to be granted leave to amend his

counterclaims.    As a separate matter, the court will also adopt the

Magistrate Judge’s Recommendation that Bloom’s motion to attach any

interest Campbell may have in certain of the disputed properties be denied

as Bloom has failed to show any likelihood of success on the merits.

     Consequently, the Recommendations are ADOPTED.                    Bloom’s

motion to dismiss (Dkt# 60) is ALLOWED.        Campbell’s motion to strike

Bloom’s motion to dismiss or, in the alternative, to amend his counterclaims

(Dkt # 68) is DENIED.      Bloom’s motion for an attachment (Dkt# 71) is

DENIED.1




     1 Neither party has filed a timely Objection to any of the Magistrate
Judge’s Reports and Recommendations.
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                            SO ORDERED.


                            /s/ Richard G. Stearns__________
                            UNITED STATES DISTRICT JUDGE
